Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 1 of 25 PageID #: 670




                                     UNITED STATES DISTRICT COURT
                                       DISTRICT OF RHODE ISLAND

  MAYRA F. PENA

                        PLAINTIFF

  V.

                                                                 C.A. NO:15-CV-00179-S-LDA
  HONEYWELL INTERNATIONAL INC.

                        DEFENDANT


       DEFENDANT HONEYWELL INTERNATIONAL INC.'S REPLY TO PLAINTIFF'S
         OPPOSITION TO DEFENDANT'S MOTION FOR SUMMARY JUDGMENT

        I.            INTRODUCTION

             Defendant, Honeywell International Inc. ("Honeywell" or "Defendant") hereby replies to

  Plaintiff Mayra Pena's ("Ms. Pena" or "Plaintiff) Opposition to Defendant's Motion for

  Summary Judgment (the "Opposition"). After receiving Plaintiffs Opposition in dribs and drabs

  and piecing it together,1 it is clear that Plaintiff cannot support any of her claims with evidence

  and, in fact, all of the evidence supports dismissing her claims on summary judgment. Plaintiff

  toils away for fifty-two pages attempting to explain away facts and evidence that are fatal to her

  claim. None of her explanations, however, have any support in evidence or applicable law.

        IE            LEGAL ANALYSIS

              A. Plaintiffs Opposition Was Unsupported as of Her Deadline for Filing

              On February 10, 2017, Honeywell timely filed its Motion for Summary Judgment (the

  "Motion"), accompanied by a Memorandum in Support of its Motion, and a separate Statement



   1         At the eleventh hour on the date on which her Opposition was due, Plaintiff submitted her Opposition,
   Memorandum in Support of her Opposition, and Exhibit List. She did not support her Opposition with a statement
   of undisputed or disputed facts, or any excerpts from deposition transcripts. Plaintiff submitted these documents a
   day later, past the deadline.


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Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 2 of 25 PageID #: 671




  of Undisputed Facts. (Docket, No. l:14-cv-00223-M-LDA). Plaintiff s Opposition was due by

  March 13, 2017. On March 6, 2017, Plaintiff filed a Motion to Amend Summary Judgment

  Deadlines to which Honeywell did not object, requesting that her deadline for filing her

  Opposition be extended to March 21, 2017. This Court granted Plaintiffs motion. On March

  21, 2017, Plaintiff filed another motion to extend her deadline for filing an Opposition to which

  Honeywell did not object. This Court granted Plaintiffs motion, making Plaintiffs Opposition

  due by March 28, 2017. (Id).

          At the eleventh hour on March 28, 2017, Plaintiff filed her Opposition, accompanied only

  by a memorandum in support thereof and an exhibit list. (Id). Notably absent from Plaintiffs

  filing was (i) a Statement of Disputed and/or Undisputed Facts; and (ii) excerpts of deposition

  transcripts to support Plaintiffs Opposition. (Id.). Consequently, there was no evidence

  whatsoever to support Plaintiffs Opposition.

          It was not until late-afternoon on March 29, 2017 that Plaintiff finally filed a statement of

   disputed facts, statement of undisputed facts, and an "Addendum" to her Opposition, which

  contained an affidavit of Mayra Pena and excerpts from deposition transcripts. (Id; Plaintiff's

   March 29 Addendum, Attachment No. I). Notably, Mayra Pena's affidavit was executed March

   29, 2017—past Plaintiffs deadline for submitting her Opposition. (Plaintiff's March 29

   Addendum, Attachment No. 1).

          Plaintiffs failure to submit a Separate Statement of Disputed or Undisputed Facts renders

   all of the facts set forth in Honeywell's timely filed Statement of Undisputed Facts admitted.

   This Court's Local Rules are clear:

          (3) For purposes of a motion for summary judgment, any fact alleged in the movant's
          Statement of Undisputed Facts shall be deemed admitted unless expressly denied or
          otherwise controverted by a party objecting to the motion. An objecting party that is
          contesting the movant's Statement of Undisputed Facts shall file a Statement of


                                                    2
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 3 of 25 PageID #: 672




         Disputed Facts, which shall be numbered correspondingly to the Statement of
         Undisputed Facts, and which shall identify the evidence establishing the dispute, in
         accordance with the requirements of paragraph (a)(2).

         (4) If an objecting party contends that there are additional undisputed facts not contained
         in the moving party's statement of undisputed facts which preclude summary
         judgment, that party shall file a separate Statement of Undisputed Facts setting forth
         such additional undisputed facts.

  LR Cv 56(a) (emphasis added).

         Where a plaintiff fails to timely file an opposition to a defendant's statement of material

  facts in support of its motion for summary judgment, a plaintiff must file a motion for leave to

  file his belatedly filed evidence and statement of material facts, and the request for leave is

  considered under an excusable neglect standard. Dimmitt v. Ockenfels, 220 F.R.D. 113 (D. Me.

  2004) (citing United States v. Proceeds of Sale of 3,888 Pounds Atl. Sea Scallops. 857 F.2d 46,

  48-49 (1st Cir. 1988)). Where a plaintiff fails to show excusable neglect, the court may refuse to

  consider the belatedly filed evidence and statement of undisputed facts. Id.; Cf Transamerica

  Life Ins. Co. v. Caramadre. No. CV 09-470 S, 2017 WL 752145, at *2 (D.R.I. Feb. 27, 2017)

  (stating, in ruling on a motion to reconsider, "[t]he Court was well within its discretion to enforce

  the final deadline that it set after it had granted several extensions ..."); Lyons v. Wall, No. CA

  08-498 ML, 2010 WL 5562272, at *2 (D.R.I. Oct. 26, 2010), report and recommendation

  adopted, No. CA 08-498 ML, 2011 WL 87345 (D.R.I. Jan. 10, 2011) (noting that, among other

  reasons, "the denial of [plaintiffs] Summary Judgment Motion was based in part on Plaintiffs

  failure to timely file a Statement of Undisputed Facts").

          Here, Plaintiff has not filed a motion for leave to file the materials that she filed past the

  deadline on March 29, 2017; namely, (i) her "Addendum" to her Opposition, containing an

  affidavit of Mayra Pena and excerpts from deposition transcripts; (ii) her Statement of Disputed

  Facts; and (iii) her Statement of Undisputed Facts. (See Docket, No. l:14-cv-00223-M-LDA).


                                                     3
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 4 of 25 PageID #: 673




  Consequently, with respect to Plaintiffs Statement of Disputed Facts, the Local Rule is clear that

  Honeywell's facts set forth in its Statement of Undisputed Facts are deemed admitted. LR Cv

  56(a)(3). With respect to her Addendum and Statement of Undisputed Facts, this Court should

  not consider such documents in determining whether summary judgment is appropriate.

  Plaintiffs failure to request this Court's leave to file such evidence and her failure to show any

  excusable neglect should preclude the consideration of these materials. See Dimmitt v.

  Qckenfels. 220 F.R.D. 113 (D. Me. 2004).

         Even more troublesome than Plaintiffs failure to timely file the aforementioned materials

  is Plaintiffs submission of an affidavit executed past the summary judgment deadline.

  (.Plaintiff's March 29 Addendum, Attachment No. 1). Surely, a party is not entitled to submit

  evidence for consideration in its opposition to a motion for summary judgment that it did not

  even collect until after the deadline. Moreover, given that it was Plaintiffs own affidavit, it is

  highly unlikely that she can show any excusable neglect for her failure to collect such evidence

  in a timely manner.

         Plaintiff should not be permitted to blatantly disregard the deadline for filing her

  Opposition. She was not without options. Plaintiff could have (i) requested an extension for

  filing her Opposition before the deadline expired; or (ii) requested leave to file the

  aforementioned materials showing excusable neglect. She did not do either, but, instead, simply

  filed her belated materials after the deadline as if the rules did not apply to her. "Rules are

  rules—and the parties must play by them." Legault v. Zambarano, 105 F.3d 24, 29 (1st Cir.

  1997). In considering Honeywell's Motion for Summary Judgment, this Court should not

  consider any of the materials submitted by Plaintiff after the expiration of her deadline for filing.




                                                    4
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 5 of 25 PageID #: 674




     B. Plaintiffs SSDI Application

         Quite simply, Plaintiffs statement that she was unable to work in her SSDI Application

  and her confirmation of that statement at her deposition is dispositive of her claims for failure to

  provide a reasonable accommodation and discriminatory discharge (Counts I to VIII). Without a

  sufficient explanation as to why her statement in her SSDI application is consistent with her

  current claim that she could perform the essential functions of her job, these statements preclude

  a finding that she was a "qualified individual" within the meaning of the ADA. Sullivan v.

  Raytheon Co.. 262 F.3d 41, 47 (1st Cir. 2001) (citing Cleveland. 626 U.S. at 805, 119 S.Ct.

  1597). Plaintiff sets forth no sufficient explanation in her Opposition to change this result. In

  fact, instead of pointing to evidence of an explanation as to how her sworn testimony that she

  was completely unable to work in her SSDI application can possibly be consistent with her

  current claim that she was able to perform her job, Plaintiff casts blame at everyone else.

          First, Plaintiff blames her own lawyer for her inconsistency, stating: "When Pena

  submitted her SSDI application, her attorney advised her to use March 8, 2013 - her last day of

  work - as the date of the onset of her disability as opposed to September 20, 2013, the date of her

  application." (Plaintiff's Opposition, p. 5). Indeed, Plaintiff similarly tried to justify her use of

  the March 8, 2013 date on her SSDI application by blaming it on her lawyer in her deposition:

          Q: What I'm asking is on the one hand you agreed that you applied for Social Security
          Disability benefits, and in that you said that you were completely unable to work as of
          March 8, 2013, correct?

          A. In September.

          Q. In September you applied but you said that as of March 8th?

          A. No. When you fill out the application, they ask you when was your last day of work.

          Q. That's not what the application says. The application says, "I became unable to work
          because" —


                                                     5
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 6 of 25 PageID #: 675




                    THE WITNESS: Which application?

                     MR. McNAMARA: Exhibit M.

           A. I applied with the help of a lawyer. It was with a lawyer that I applied for Social
           Security.

           Q. But in any event, you are saying on the one hand that you are completely unable to
           work, correct?

           A. Yes.

  (Honeywell's Statement of Undisputed Facts ("UMF") % 97). By making these statements.

  Plaintiff seemingly indicates that, if not for her attorney's advice, she would have instead

  testified under oath that September 20, 2013 was the onset of her alleged total disability. If the

  Court accepts Plaintiffs implication as true, it must also conclude that she committed perjury in

  her SSDI application and in her deposition by swearing under oath that her complete inability to
                                      •y
  work started on March 8, 2013.           Without concurrently admitting to perjury, Plaintiffs attorney's

  advice does not change the fact that she testified, under oath, that she was completely unable to

  perform work as of March 8, 2013.

           Plaintiff next turns the aim of her blame game toward Defendant's counsel. Specifically,

  in attempting to fend off her SSDI testimony in her Opposition, Plaintiff argues: "Honeywell's

  counsel is ... guilty of failing to ask the right questions." (Pena Opposition, p. 36). However,

  Defendant's counsel specifically and directly asked Plaintiff: "[C]an you explain why on the one

  hand you applied for disability benefits and said that you were unable to work at all as of March

  2 Specifically,Plaintiffs application states that: "I KNOW THAT ANYONE WHO MAKES OR CAUSES TO BE
  MADE A FALSE STATEMENT OR REPRESENTATION OF MATERIAL FACT IN AN APPLICATION OR
  FOR USE IN DETERMINING A RIGHT TO PAYMENT UNDER THE SOCIAL SECURITY ACT COMMITS A
  CRIME PUNISHABLE UNDER FEDERAL LAW BY FINE, IMPRISONMENT OR BOTH. I AFFIRM THAT
  ALL INFORMATION I HAVE GIVEN IN CONNECTION WITH THIS CLAIM IS TRUE." (UMF ff 90, 91).
  Her application summary further reminds her, "You declared under penalty of perjury that you examined all the
  information on this form and it is true and correct to the best of your knowledge. You were told that you could be
  liable under law for providing false information." (UMF ff 90, 91).


                                                          6
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 7 of 25 PageID #: 676




  8, 2013 and that was found to be accurate, and on the other hand you then assert a claim against

  Honeywell, which includes an assertion that if you had been given an accommodation, you could

  have done your job? Can you explain that to me?" (UMF                     97).3 Moreover, even if Plaintiff

  were not asked so directly to explain to inconsistency. Defendant's counsel is under no

  obligation to ask Plaintiff to explain inconsistencies that are dispositive of her claim.

          In any event, Plaintiff bears the burden to prove by competent evidence that her past

  statement is consistent with her current claim and, thus, Plaintiffs stone throwing gets her

  nowhere in response to a summary judgment motion. Mesnick v. Gen. Elec. Co.. 950 F.2d 816

  (1st Cir. 1991) ("On issues where nonmovant bears ultimate burden of proof, he must present

  definite, competent evidence to rebut the motion."). Specifically, "to defeat [a defendant's]

  motion for summary judgment, [a plaintiff] must explain why the representations of total

  disability [s]he has made in the past are consistent with his current claim that he could perform

  the essential functions of [her position] with reasonable accommodation." Sullivan v. Raytheon

  Co.. 262 F.3d 41, 47 (1st Cir. 2001) (citing Cleveland. 626 U.S. at 805, 119 S.Ct. 1597).

  Plaintiff stated in her SSDI application, "I became unable to work because of my disabling

  condition on March 8, 2013. I am still disabled." (UMF ff 90, 91). She confirmed this

  statement in her deposition by underscoring the fact that she was completely unable to work in

  response to Defendant's counsel's questions as to how this statement in her SSDI application

  could be reconciled with her current claim that she is was able to perform the essential functions

  of her position. (UMF %% 94-95).

          Plaintiff simply has not explained why the representations of total disability she made in

  her SSDI Application and deposition are consistent with her current claim that she could perform


  3       Plaintiff replied that she applied for SSDI with the help of a lawyer and, "I went to see them, but they asked
  me, Do you want to go back to work, and I said, I don't want to see these people ever anymore." (UMF ff 97).

                                                            7
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 8 of 25 PageID #: 677




  with reasonable accommodation. See Sullivan. 262 F.3d at 47. Plaintiff attempts to save her

  claim by belatedly submitting an affidavit that not only conflicts with her deposition testimony

  that she was completely unable to work as of March 8, 2013, (UMF             89-95), but was also

  executed the day after the deadline for submitting her Opposition. In this affidavit. Plaintiff

  states in conclusory fashion: "When I stated on my SSDI application that I was unable to work

  as of March 8, 2013,1 meant that I was totally disabled only for the purposes of receiving SSDI

  benefits. The SSDI application did not ask if I needed any accommodations of a disability in

  order to work and no one at any of the hearings asked. Had I been asked, I would have

   responded,'Yes.'" (Plaintiff's March 29 Addendum, Attachment No. 1,1124). However, the

  Supreme Court has already addressed Plaintiffs hindsight-driven strategy in this very context.

  In the very case that the Supreme Court analyzed the effect of statements in an SSDI application

  on an ADA claim, the Court stated: "[A] party cannot create a genuine issue of fact sufficient to

  survive summary judgment simply by contradicting his or her own previous sworn statement (by,

   say, filing a later affidavit that flatly contradicts that party's earlier sworn deposition) without

  explaining the contradiction or attempting to resolve the disparity." Cleveland v. Policy Mgmt.

   Svs. Corp.. 526 U.S. 795, 806, 119 S. Ct. 1597, 1603, 143 L. Ed. 2d 966 (1999). This is not a

   novel concept. It is well-settled that ""[ajbsent a satisfactory explanation, a 'party opposing

   summary judgment cannot create a genuine issue of material fact by the simple expedient of

   filing an affidavit that contradicts clear answers to unambiguous questions in an earlier

   deposition.'" Fin. Res. Network, Inc. v. Brown & Brown. Inc., 867 F. Supp. 2d 153, 171-72 (D.

   Mass. 2012) (quoting Gillen v. Fallon Ambulance Service, Inc.. 283 F.3d 11, 26 (1st Cir. 2002));

   Colantuoni v. Alfred Calcagni & Sons. Inc.. 44 F.3d 1, 4 (1st Cir. 1994) (stating "[wjhen an

   interested witness has given clear answers to unambiguous questions, he cannot create a conflict



                                                      8
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 9 of 25 PageID #: 678




  and resist summary judgment with an affidavit that is clearly contradictory, but does not give a

  satisfactory explanation of why the testimony is changed"); see also Russell v. Acme-Evans Co..

  51 F.3d 64, 67-68 (7th Cir. 1995) (stating that a subsequent affidavit should be disregarded when

  it is in conflict with previous deposition testimony unless the party can explain the discrepancy);

  Slowiak v. Land O'Lakes. Inc.. 987 F.2d 1293, 1297 (7th Cir. 1993) (concluding that without a

  satisfactory explanation, a subsequent self-serving affidavit which contradicts deposition

  testimony cannot create a genuine issue of material fact); Trans-Orient Marine Corp. v. Star

  Trading and Marine, Inc., 925 F.2d 566, 572 (2d Cir. 1991) (stating that a party cannot create a

  genuine issue of material fact by submitting an affidavit contradicting his own sworn testimony).

  Plaintiff offers no explanation as to why, in her affidavit—executed more than three-and-a-half

  years after her SSDI Application, more than four months after her deposition, and a day after her
                                                                A

  Opposition was due—she changed her testimony. See Colantuoni, 44 F.3d at 4. Accordingly,

  Plaintiffs affidavit does not save her claim.

           Grasping at yet another straw to save her claim, Plaintiff asks this Court to consider

   certain factors set forth in "EEOC Enforcement Guidance." (Plaintiffs Opposition, p. 40). The

   Enforcement Guidance, effective February 1997, set forth factors for field officers to consider in

  assessing whether an application for disability benefits should bar an ADA claim. EEOC Notice

  No. 915.002 (2-12-97). Flowever, the Commission's guidance—issued before the United States

   Supreme Court set forth the current framework for assessing these claims—no longer has any


   4        In fact, the only explanation Plaintiff provides for her deposition testimony in her Opposition is that
  "Honeywell's counsel's deposition questions were confusing, particularly to Pena, who does not speak English,
  lacks a formal education, and does not understand that each statute defines disability differently." (Plaintiffs
  Opposition, p. 40). However, there is no support for Plaintiffs preposterous suggestion that the language barrier can
  create a dispute of material fact—particularly when communicating through an interpreter at a deposition. Perhaps
  even more absurd is Plaintiffs suggestion that she did not understand that each statute defines disability differently.
  (Plaintiff's Opposition, p. 40). Plaintiffs lack of knowledge that she would have to testify in a certain way to
  preserve her ADA claim does not absolve her of her presumably truthful testimony made under oath at her
  deposition.

                                                            9
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 10 of 25 PageID #: 679




  bearing whatsoever on the interplay between an SSDI application and an ADA claim.

  Specifically, two years after the Commission issued the aforementioned guidance, the United

  States Supreme Court issued its opinion in Cleveland v. Policy Mgmt. Svs. Corp.. in which it

  held:

           When faced with a plaintiffs previous sworn statement asserting "total disability" or the
           like, the court should require an explanation of any apparent inconsistency with the
           necessary elements of an ADA claim. To defeat summary judgment, that explanation
           must be sufficient to warrant a reasonable juror's concluding that, assuming the truth of,
           or the plaintiffs good-faith belief in, the earlier statement, the plaintiff could nonetheless
           "perform the essential functions" of her job, with or without "reasonable
           accommodation."

  526 U.S. 795, 807, 119 S. Ct. 1597, 1604, 143 L. Ed. 2d 966 (1999). As shown, the Court quite

  clearly set forth the test to determine the effect of an SSDI application on a plaintiff s ADA

  claim. None of the factors that Plaintiff analyzes under the EEOC Guidance are consistent with

  the straightforward test set forth in Cleveland. Consequently, this Court would err as a matter of

   law by resting its decision upon them.

           Similarly, Plaintiff relies upon two pre-Cleveland cases to support her argument that

  "Pena should not have to choose between being surviving [sic] and using the ADA to assist her

   in being a productive member of society." (.Plaintiff's Opposition, p. 46). Eloneywell does not

   suggest that Plaintiff was required to choose between SSDI and the ADA.          Indeed, as Cleveland

   and its progeny establish, a plaintiff need not choose between SSDI and the ADA, but,

   importantly, a plaintiff must explain how her claim in her SSDI application can be reconciled

   with her ADA claim. Here, as shown above and in Defendant's Motion for Summary Judgment,

   Plaintiff simply has offered no such explanation. Accordingly, under Cleveland, her claims must

   fail.




                                                     10
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 11 of 25 PageID #: 680




             C. Plaintiffs Retaliation Claim

             Plaintiffs Retaliation and Whistleblower Claims (Counts IX to XII) must fail because

   she has identified no evidence of a causal connection between any protected conduct and any

   adverse employment action. In addition, these claims fail because she does not identify any

   evidence to suggest that Honeywell's legitimate non-retaliatory reasons for her discharge were

   pretextual. Each of these reasons are discussed in turn.

                1. No Causal Connection

             In response to Honeywell pointing out in its Motion for Summary Judgment that Plaintiff

   had not alleged any protected conduct. Plaintiff invented some protected conduct—a report to

   Human Resources concerning her diabetes.3 (Plaintiffs Opposition, p. 47). However, Plaintiffs

   diabetes has nothing to do with this case. As a result, Plaintiff unsurprisingly cannot present any

   evidence of a causal connection between her protected conduct and any adverse employment

   action.

             In Plaintiffs Opposition, she states that the protected conduct that she engaged in was a

   complaint on February 21, 2013 regarding her need for breaks due to her diabetes. (Plaintiffs

   Opposition, p. 47). She defines the adverse employment action for her claim as her termination,

   which occurred nearly four-months later on June 17, 2013. (Id.) Plaintiff then relies solely

   upon the temporal proximity of nearly four months between her alleged report and termination

   to support the causal connection necessary for her retaliation claim.




              Up until her Opposition, Plaintiff gave absolutely no explanation as to what she claimed her protected
   conduct to be. Specifically, Plaintiff claimed—in a conclusory nature and without any evidentiary support—that she
   "engaged in protected conduct by reporting unlawful conduct to the H.R, Department." (Complaint Iff 59, 61, 63,
   67). Honeywell noted in its Motion for Summary Judgment that Plaintiff had presented no evidence of any
   protected conduct. (Honeywell's Motion for Summary Judgment, p. 24). Apparently realizing that Honeywell was
   correct in that assertion, Plaintiff executed an affidavit the day after her Opposition was due in which she stated, for
   the first time, that her protected conduct was a report concerning her diabetes.

                                                             11
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 12 of 25 PageID #: 681




          "[T]he Supreme Court has stated that '[t]he cases that accept mere temporal proximity

   between an employer's knowledge of protected activity and an adverse employment action as

   sufficient evidence of causality to establish a prima facie case uniformly hold that the temporal

   proximity must be very close.'" Calero-Cerezo v. U.S. Dep't of Justice, 355 F.3d 6, 25 (1st Cir.

   2004) (quoting Clark County Sch. Dist. v. Breeden. 532 U.S. 268, 273-74, 121 S.Ct. 1508, 149

   L.Ed.2d 509 (2001)) (emphasis added). Consequently, "[t]hree and four month periods have

   been held insufficient to establish a causal connection based on temporal proximity." Id.

   (emphasis added); see Ramirez Rodriguez v. Boehringer Ingelheim Pharms.. Inc.. 425 F.3d 67,

   85-86 (1st Cir. 2005) (finding two-month temporal proximity between filing of discrimination

   complaint and plaintiffs termination insufficient to establish a causal connection for ADEA-

   based retaliation claim); Colbum v. Parker Hannifin/Nichols Portland Div.. 429 F.3d 325, 338

   (1st Cir. 2005) (holding four month interval between commencement of leave and termination

   "raises no inference of retaliatory motive"); Sauzek v. Exxon Coal USA, Inc.. 202 F.3d 913,

   918-919 (7th Cir. 2000) (three months too long to support an inference of retaliation); Castro-

   Medina v. P & G Commer. Co., 565 F.Supp.2d 343, 382 (D.P.R. 2008) (plaintiff unable to

   establish prima facie case that termination constituted retaliation where almost four months had

   elapsed between filing of complaint and termination); see also King v. Town of Hanover, 116

   F.3d 965, 968 (1st Cir. 1997) (five-month lapse between complaint and disciplinary action found

   to be too long to establish retaliation claim where plaintiff failed to point to any other evidence

   demonstrating that action was retaliatory). Flere, Plaintiffs nearly four-month break between her

   reported conduct is insufficient to establish a causal connection between that report and her

   termination.




                                                    12
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 13 of 25 PageID #: 682




           This is particularly true in the instant case where there is not a shred of evidence to

   suggest that Honeywell terminated Plaintiffs employment because of her February 21, 2013

   report. Indeed, Plaintiff presents no evidence to suggest that there was any connection between

   her February 21, 2013 complaint and her termination.6 Accordingly, Plaintiffs retaliation claim

   fails because she has provided absolutely no evidence of a causal connection between her

   protected conduct and any adverse employment action.7

                2. No Pretext

           Plaintiff muddles a bunch of inapplicable and non-binding cases together to present a

   peculiar argument that she need not follow the McDonnell-Douglas burden-shifting framework

   that federal courts have been applying for forty-four years. McDonnell Douglas Corp. v. Green.

   411 U.S. 792, 93 S.Ct. 1817, 36 L.Ed.2d 668 (1973); {Plaintiffs Opposition, p. 46).

   Specifically, Plaintiff attempts to avoid the McDonnell-Douglas framework in order to avoid the

   need to show evidence of pretext in response to Honeywell's evidence of its legitimate non­

   discriminatory and non-retaliatory reasons for Plaintiffs termination.

           First, Plaintiff cites to three Massachusetts cases which state that, under the state's G.L. c.

   15 I B, a plaintiff need not follow the McDonnell-Douglas framework to state a claim. Plaintiff s


   6        The only two statements in Plaintiffs Affidavit concerning her diabetes are as follows: (1) "Because of my
   diabetes, I need to eat at very specific intervals during the day and, therefore, I needed to take breaks at 9:00 AM
   and 12:00 PM;" and (2) "On February 21, 2013,1 complained to Jose Gouveia that my supervisor was not allowing
   me to take breaks at 9:00 AM and 12: 00 PM so I could eat, which 1 told him was necessary because of my
   diabetes." (Affidavit of Mayra Pena attached to Plaintiffs Addendum to Opposition).

   7         To the extent that Plaintiff discusses her assignment to the molding department in her Opposition, this
   assignment is not relevant to her retaliation claim. The only adverse employment action Plaintiff identifies in her
   Opposition is Plaintiffs termination. Indeed, Plaintiff could not claim that her assignment to the molding
   department was an adverse employment action. Instead, working in the molding department was a part of Plaintiffs
   job and an employer requiring an employee to do his or her job cannot, as a matter of law, constitute an adverse
   employment action. Morales-Vallellanes v. Potter. 605 F.3d 27, 38 (1st Cir. 2010) (vacating verdict and concluding
   that plaintiff failed as a matter of law to provide evidence of an adverse employment action under Title VII's
   retaliation provision where employer required plaintiff to complete window duties, rather than his typical and
   preferred distribution duties, because window duties fell within his job description and on rare occasions he had
   performed window duties in the normal course of his employment).


                                                           13
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 14 of 25 PageID #: 683




   claims in the instant matter are based upon the Americans with Disabilities Act ("ADA"), 42
                                                                   .            8      •
   U.S.C. 12101 et sen, and four Rhode Island state antidiscrimination statutes. In making her

   argument that she should not have to follow the McDonnell-Douglas framework to support a

   claim, Plaintiff does not cite to a single case applying any of the statutes applicable to this case.

   Indeed, there are no such cases. Plaintiffs argument that she should not have to follow the

   McDonnell-Douglas framework (and, therefore, not have to prove pretext) is nothing more than

   an invitation for this Court to go rogue and render a decision that flies in the face of nearly a half

   century of precedent.

           Plaintiffs citation to inapplicable case law to avoid the pretext requirement does not stop

   with Massachusetts. She next turns her attention to Second and Eleventh Circuit cases to argue

   that a plaintiff has to prove only discriminatory motive by the employer, but does not have to

   prove that its proffered legitimate non-retaliatory reason is pretextual. Of course, Plaintiff does

   not cite to a single First Circuit case in support of this claim because this notion is directly

   contrary to First Circuit case law. Indeed, the First Circuit has been clear: When an employer

   proffers a legitimate, non-retaliatory reason, "[t]he plaintiff must present sufficient evidence to

   show both that 'the employer's articulated reason for laying off the plaintiff is a pretext' and

   that 'the true reason is diseriminatory.'" Thomas v. Eastman Kodak Co., 183 F.3d 38, 56 (1st

   Cir. 1999) (quoting Udo v. Tomes. 54 F.3d 9, 13 (1st Cir. 1995)) (emphasis added); Jones v.

   Walgreen Co.. 679 F.3d 9, 21 (1st Cir. 2012) (A plaintiff must prove "that the proffered

   legitimate reason is in fact a pretext and that the job action was the result of the defendant's

   retaliatory animus." (quoting Collazo v. Bristol-Myers Squibb Mfg.. Inc., 617 F.3d 39, 46 (1st



   8        Plaintiff brings her state claims under the Rhode Island Civil Rights Act ("RICRA"), R.l. Gen. Laws §§ 42­
   112-1 et seq., the Rhode Island Fair Employment Practices Act ("FEPA"), R.I. Gen. Laws §§ 28-5-1 et seq., the
   Rhode Island Civil Rights of People with Disabilities Act ("RIPDA"), R.I. Gen. Laws §§ 42-87-1 et seq., and the
   Rhode Island Whistleblower's Protection Act ("RIWPA"), R.I. Gen. Laws §§ 28-50-1 et seq.

                                                           14
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 15 of 25 PageID #: 684




   Cir.2010))). "For expository convenience, [the First Circuit] has sometimes labeled these two

   findings 'pretext' and 'plus' and has referred to the First Circuit rule as a "pretext-plus"

   standard." Id Thus, under well-settled First Circuit precedent, a plaintiff must prove both the

   "pretext" (i.e., that the proffered reason is untrue) and the "plus" (i.e., that the real reason is

   discriminatory). Accordingly, Plaintiffs citation to Second and Eleventh Circuit case law is

   unavailing.

           Here, as Plaintiffs attempt to avoid the pretext inquiry demonstrates, she has no evidence

   that Honeywell's reason for terminating Plaintiff was pretextual. Honeywell terminated

   Plaintiffs employment for a legitimate, non-retaliatory reason: She failed to show up to work

   for nearly three months. Indeed, prior to her termination, Honeywell had been very generous

   with leave time for Plaintiff. Despite the fact that she had previously been granted leaves

   totaling 23 weeks between October 14, 2011 and January 14, 2013, and had no available FMLA

   time in March 2013, Honeywell did not terminate her employment for job abandonment until she

   had been absent for over three months, and the company had not heard from her or her lawyer

   for over one month. If Honeywell were motivated by discriminatory animus, it would be

   nonsensical for it to keep her as an employee past March 8, 2013, and work with her for three

   months to attempt to maintain her as an employee. Honeywell's legitimate, nondiscriminatory

   reasons for terminating Plaintiff were not pretextual.

           Plaintiff has offered no evidence to suggest that such reasons were pretextual. The only

   evidence Plaintiff cites to in her Opposition has nothing to do with discriminatory animus or with

   her protected conduct. In support of her pretext argument, Plaintiff claims that (i) "Honeywell's

   contention that the only work available for Pena to do at the Cranston facility was in the Molding

   Room is inconsistent with Dyer's testimony that workers were only assigned there on an 'as



                                                      15
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 16 of 25 PageID #: 685




   needed' basis," and (ii) "This statement is also inconsistent with Pena's actual work assignments

   over a two week period - from February 21, 2013 to March 7, 2013 - when she was only

   assigned to work in the Molding Room twice and for only a short period of time." (.Plaintiff's

   Opposition, p. 51).      However, Plaintiff takes Kevin Dyer's ("Mr. Dyer") testimony out of

   context. Mr. Dyer's testimony states: "We need to move people with business needs. You

   know, you might get an order that comes in for 50,000 of this and you need to move everybody

   there tomorrow." Dyer Dep. 41:11-14. Mr. Dyer's testimony is entirely consistent with

   Honeywell's legitimate, non-discriminatory statement that the only work for Plaintiff to perform

   on a particular day was in the molding department. Similarly, it is entirely consistent with

   Plaintiff having fewer work assignments in the molding department at other times. In fact, Mr.

   Dyer's testimony fully supports both of these statements: Honeywell moved Plaintiff to where

   she was needed based upon business demands, and she understandably was needed in different

   departments at different times. Thus, Plaintiff questioning Mr. Dyer's testimony does not

   suggest an inkling of pretext.

            In addition, Plaintiff argues that pretext can be shown by Dr. Jennison's testimony that

   Honeywell's Human Resources department had final authority to grant or deny Plaintiffs

   accommodation, compared to Jose Gouveia's ("Mr. Gouveia") alleged testimony that

   Honeywell's legal and medical teams had final decision-making authority. First, Mr. Gouveia's

   alleged statement that Honeywell's legal and medical teams had decision-making authority is not

   part of the summary judgment record, and, therefore, this argument is unsupported by any

   evidence.9 Further, Plaintiff identifies only her termination of employment as an adverse

   employment action and, as discussed above, her assignment to the molding department was part

   9         Plaintiff cites to page 84 of Mr. Gouveia's deposition to support this argument. However, Plaintiff did not
   attach this portion of Mr. Gouveia's deposition to her Opposition and Honeywell did not cite to this portion at all.


                                                            16
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 17 of 25 PageID #: 686




  of her job duties and could not be an adverse employment action. Thus, the ultimate decision­

  maker with respect to Plaintiffs request for an accommodation has nothing to do with whether

  or not Honeywell's termination of her employment was pretextual.10

        I). Plaintiffs Disability Discrimination Claims

           Even if Plaintiff s SSDI application was not dispositive of her claims based upon failure

  to provide a reasonable accommodation and discriminatory discharge (Counts I to VIII) as

  discussed in Section 11(B), her claims nevertheless fail because (i) Plaintiffs refusal to work in

  the molding department was not a reasonable accommodation; (ii) Plaintiff does not show

  Honeywell's articulated legitimate nondiscriminatory reasons to be a pretext for discrimination;

  (iii) Plaintiff cannot show that she was discharged because of her disability.

                1. Plaintiffs Refusal to Work in the Molding Department Was Not a Reasonable
                   Accommodation

            Plaintiff has not identified or suggested any accommodation aside from refusing to work

   in the molding department. The ability to perform the work in all production areas of the

   facility, and to rotate among them, is an essential function of Plaintiffs position. (UMF f 18). It

   is well settled that "an employer's obligation to make reasonable accommodations does not

   require the employer to rewrite the essential elements of a job description or to reallocate those

   functions to other workers." Rios-Jimenez v. Principi, 520 F.3d 31, 42 n.9 (1st Cir. 2008).




   10        Moreover, Plaintiff once again takes witness testimony out of context—there is no inconsistency at all. Dr.
   Jennison testified that she serves as a consultant and plays an advisory role in decision-making regarding the request
   for a reasonable accommodation. (Jennison Dep. 29:10-21). This is not inconsistent with Mr. Gouveia's alleged
   testimony that he escalated requests for accommodation to the legal and medical teams. Similarly, Plaintiff takes
   issue with Dr. Jennison stating that her role was only to provide a medical opinion, but reviewing only some of the
   information available including the first note from Dr. Greer. However, as discussed in great detail in Honeywell's
   Motion for Summary Judgment, Dr. Jennison identified that Honeywell needed to know how Plaintiffs anxiety
   symptoms would allow her to work in many areas of the plant, but not in the molding department. (UMF f 51-55).
   Given that Honeywell never received an answer to this question, it was not necessary for Dr. Jennison to review
   each and every doctor's note or additional document to reiterate the same thing that she concluded the first time.

                                                            17
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 18 of 25 PageID #: 687




          Plaintiff attempts to create an issue of fact as to whether the molding department was an

  essential function of Plaintiff s job when no issue exists at all. In recognition that courts do not

  purport to be super-personnel departments, courts "generally give substantial weight to the

  employer's view of job requirements." Mullov v. Acushnet Co.. 460 F.3d 141, 147 (1st Cir.

  2006) (quoting Ward v. Mass. Health Research Inst.. Inc.. 209 F.3d 29, 34 (1st Cir. 2000)).

  Here, Honeywell personnel consistently identified that working in the molding department was

  part of Plaintiff s job duties and an essential function of her job. (Ryan Dep. 99:25-100:12; Dyer

  Dep. 41:3-24).

          Plaintiff attempts to create an issue of fact by stating that "Honeywell's claim that

  working in the Molding Room is an essential function of Pena's job should be viewed with

  skepticism ... [because] Honeywell did not come up with this creative argument until a year

  after it terminated Pena and only after she filed a Charge of Discrimination in RICHR accusing

  Honeywell of disability discrimination and only because it was in desperate need of a defense."

  (Plaintiffs Opposition, p. 20). This could not be further from the truth. Instead, Honeywell

   repeated that working in the molding department was part of Plaintiff s typical job duties over

   and over throughout its attempts to engage in the interactive process. For example, in Dr.

   Jennison's April 2, 2013 letter to Plaintiff, she states, "Ms. Pena routinely works in several areas

   of the facility, including the moulding room, so the moulding room would, in fact, be considered

   part of her typical duties." (Exhibit G to Pena Dep.; see also Exhibit C to Rolfs Aff. ("Ms. Pena

   works as an assembly associate and is required to work in various areas, including the molding

   area.")). Accordingly, this is not a "newly minted" defense, but rather, the same legitimate non­

   discriminatory reason that Honeywell has been reiterating all along. Honeywell's judgment as to

   what constituted the essential functions of her job is entitled to deference.



                                                    18
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 19 of 25 PageID #: 688




          In addition, the amount of time Plaintiff spent working in the molding department

  suggests that working in the molding department was an essential function of her job. Plaintiff

  testified that she was assigned to work in the molding department two to three times per week for

  four hours at a time, which represents eight (8) to twelve (12) hours per week, or 20% to 30% of

  her forty (40) hour work week. (UMF f 29). This significant amount of her workweek shows

   that working in the molding room was an essential function of her job. Mullov v. Acushnet Co.,

   460 F.3d 141, 153 (1st Cir. 2006) ("Even if Mulloy had not stipulated to the essential nature of

   this function, a job function requiring 10% of Mulloy's time is not insignificant when considered

   in relation to the five remaining essential functions of his job, each of which requires only 10%

   to 25% of his time.").

          The consequences of not requiring Plaintiff to perform her duties in the molding room

   also supports Honeywell's recognition that this was an essential function of her job. It was

   Honeywell's business practice to move associate assemblers to departments where customer

   demand was greatest and, as a result, an employees' inability to work in any particular area

   would burden the production process. (UMF f 15). In addition. Plaintiff does not dispute that it

   was particularly important for employees to cycle into the molding department because the

   molding department runs twenty-four hours per day and does not shut down for employee lunch

   and other breaks. (UMF f 16). Accordingly, there are several factors to bolster Honeywell's

   judgment that working in the molding department was an essential function of Plaintiff s job.

          Notably, Plaintiff misleadingly suggests that summary judgment is somehow unsuitable

   when an employee's essential functions are at issue. However, courts repeatedly and

   consistently grant summary judgment in such circumstances and the First Circuit has repeatedly

   and consistently affirmed such decisions. See, e.g.. Rios-Jimenez, 520 F.3d at 42 (concluding



                                                   19
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 20 of 25 PageID #: 689




   summary judgment was appropriate because communication and attendance were essential

   functions of plaintiff s job); Mullov. 460 F.3d at 151 (concluding that physical presence as

   opposed to working remotely was an essential function of plaintiff s job based, in part, upon the

   employer's judgment as to the essential functions of the job); Horn v. S. Union Gas Co.. No. 07-

   142S, 2009 WL 462697, at *7 (D.R.I. Feb. 20, 2009) (concluding that plaintiff failed to meet her

   prima facie case of discrimination where her proposed accommodation to move her from the

   leak survey department to an assistant to legal counsel would rewrite her job description and was

   not a reasonable accommodation). Here, the issue is clear-cut. In 2012, Honeywell made a

   decision that all its employees who worked on the floor at the Cranston facility needed to be able

   to work in all areas of the facility, and to rotate among those areas as needed. Plaintiff and the

   other employees were all trained to be able to perform those various functions. Honeywell

   required this cross-training because it allowed Honeywell to run an efficient operation by

   shifting employees to different departments based on customer demands. The ability to perform

   the work in all production areas of the facility, and to rotate among them, is an essential function

   of Plaintiff s position. (UMF If 18). Aside from questioning Honeywell's evidence. Plaintiff has

   presented no evidence to suggest that working in the molding department was not an essential

   function of her job. Indeed, she did not identify a single associate assembler that was not

   required to work in the molding department—nor could she, because it was required of all

   associate assemblers.11

            As the foregoing makes unmistakably clear, there is no issue of material fact as to

   whether working in the molding department was an essential function of Plaintiff s job. Given

   that her refusal to work in the molding department was the only accommodation Plaintiff


   11      Plaintiff does not dispute that no other employee other than Plaintiff has refused to work in the molding
   department. (UMF ^ 12).

                                                            20
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 21 of 25 PageID #: 690




   suggested, she failed to present a reasonable accommodation and, thus, summary judgment is

   appropriate. Kvorjak v. Maine. 259 F.3d 48, 55 (1st Cir. 2001) (granting summary judgment in

   recognition of the principle that the burden is on the Plaintiff "of proposing an accommodation

   that would enable [her] to perform his job effectively and is, at least on the face of things,

   reasonable.").

                2. Plaintiff Provides No Evidence That Honeywell's Articulated Legitimate Non-
                   Discriminatory Reasons for Her Termination Were a Pretext for Discrimination

           Plaintiffs sole argument that Honeywell's legitimate non-discriminatory reason12 for

   her termination was pretext is as follows: "If Honeywell truly believed that working in the

   Molding Room was an essential function of the Associate Assembler position, then the time to

   raise this issue should have been when Pena first made her reasonable accommodation request on

   March 7, 2013 or during the interactive process." (.Plaintiff's Opposition p. 24).                 Plaintiff

   further notes that "[i]f Honeywell truly believed from the onset that working in the Molding

   Room was an essential function of the Associate Assembler position, then once Pena refused to

   work there—irrespective of whether or not it was for medical reasons—Honeywell had the right

   to terminate her employment on the grounds that she could not perform the essential functions of

   her job." (.Plaintiff's Opposition p. 25). Plaintiff claims Honeywell's "newly minted" argument

   suggests that it is pretextual.

           As detailed above in Section 11(D)(1), Honeywell repeated that working in the molding

   department was part of Plaintiff s typical job duties over and over throughout its attempts to

   engage in the interactive process. Thus, Plaintiffs argument simply has no merit. Further,

   12        As outlined in detail in Honeywell's Motion for Summary Judgment, Honeywell had a legitimate and
   lawful reason for terminating Plaintiffs employment: Plaintiff refused to perform an essential function of her job,
   left the workplace, and never returned. Honeywell nevertheless sought to work with her to maintain her as an
   employee and accommodate any condition that Plaintiff may have had. Plaintiff was not terminated until she had
   been out on leave for over three months—a leave which had never been approved—and neither she nor her attorney
   had been in touch with Honeywell for over one month. Her abandonment of her job was sufficient to support the
   decision to terminate her employment.

                                                           21
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 22 of 25 PageID #: 691




   Plaintiff is absolutely correct that Honeywell had the right to terminate her the moment she

   refused to work in the molding department. Honeywell nevertheless sought to work with her to

   maintain her as an employee and accommodate any condition that Plaintiff may have had.

   Honeywell going above and beyond for its employees does not establish pretext.

              3. Plaintiff Has Offered No Evidence That She Was Discharged Because of Her
                 Disability

          In a discrimination case, the employee has the burden of proving that she was discharged

   because of her disability. See Barber v. Verizon New England Inc.. No. 05-390-ML, 2006 WL

   3524465, at *3 (D.R.I. Dec. 6, 2006); Ward v. Massachusetts Health Research Inst.. Inc., 209

   F.3d 29, 33 (1st Cir. 2000). Plaintiff sets forth a number of reasons that she believes show

   Honeywell discharged her because of her disability—each of which is either unsupported by

   evidence or not relevant to her instant claim.

              •   Plaintiff states that "Honeywell knew about Pena's past FMLA medical leaves for

                  seasonal depression." (Plaintiffs Opposition, p. 26). However, Plaintiff s

                  seasonal depression has nothing to do with this case. She claims in the instant

                  case that her disability was anxiety as a result of working in the molding

                  department. Plaintiff does not present any claim based upon her seasonal

                  depression and, in fact, Honeywell accommodated each of her requested medical

                  leaves for her seasonal depression by allowing her time to take trips to the

                  Dominican Republic. (UMF f 26). Thus, Plaintiffs seasonal depression or

                  Honeywell's knowledge thereof have nothing to do with this claim.

              •   Plaintiff states that "Honeywell knew that Pena had been receiving counseling

                  and medication from a mental health provider since 2010." (Plaintiff's

                  Opposition, p. 26). In support, she relies upon the letterhead from Dr. Greer's

                                                    22
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 23 of 25 PageID #: 692




                letter, dated March 8, 2013, which lists the services he provides, including

                "Mental health and substance abuse care and treatment services ...        First of all,

                it is absurd to believe that each and every time an employee submits a doctor's

                note, an employer is required to assume that their employee receives treatment for

                all of the conditions that a doctor sets forth in his letterhead. No reasonable juror

                would so conclude. Further, given that the note is dated March 8, 2013, it is

                unclear how Plaintiff concludes that Honeywell's knowledge dated back to 2010.

                Indeed, Plaintiff offers no evidence or explanation of this.

            •   It is immaterial that "Dr. Jennison only received and reviewed one of Dr. Greer's

                three letters and she never received or reviewed Pena's completed Request for

                Reasonable Accommodation Form." (.Plaintiff 's Opposition, p. 28). Upon

                reviewing Dr. Greer's first note. Dr. Jennison identified that Honeywell needed to

                know how Plaintiffs anxiety symptoms would allow her to work in many areas of

                the plant, but not in the molding department.    (UMF f 51 -55). Given that

                Honeywell never received an answer to this question, it was not necessary for Dr.

                Jennison to review each and every doctor's note or additional document to

                reiterate the same thing that she concluded the first time. The fact that she did not

                review subsequent documents does not suggest that Honeywell engaged in

                discrimination.

            •   Plaintiff claims that "Honeywell did not consult with a psychiatrist and only relied

                on the opinion of its own in-house doctor who specializes in occupational

                medicine." (Plaintiff's Opposition, p. 28). Plaintiff sets this forward to suggest

                that "a reasonable jury could conclude that Gouveia, Dr. Jennison or someone else



                                                  23
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 24 of 25 PageID #: 693




                     at Honeywell purposefully did not consult with a trained psychiatrist in order to

                     stonewall Pena's efforts to remain employed and force her termination."

                     (Plaintiff's Opposition, p. 28). However, Plaintiff offered absolutely no evidence

                     of such a nefarious intent. Therefore, a reasonable jury could not so conclude,

                     because such a conclusion would not be based upon evidence.

                 •   Plaintiff claims that "Gouveia emphasized how Pena was pointing her finger in

                     his face and being disrespectful." {Plaintiff's Opposition, p. 29). First, the

                     incident involving Plaintiff pointing her finger at Mr. Gouveia occurred in March

                     2013, but she was not terminated until June 2013. Thus, the temporal proximity

                     between these two events is insufficient to show any causal connection.

                     Moreover, even if Honeywell based its decision to terminate Plaintiff on this

                     insubordination, this would only present an additional reason for Honeywell to

                     terminate Plaintiff. Termination for an employee's insubordination is not

                     discrimination. Therefore, whether this played any role in Honeywell's decision

                     to terminate Plaintiff is irrelevant.

   As these points show, Plaintiff has offered no evidence that she was discharged because of her

   disability. While Plaintiff attempts to create an issue of fact where none exists, all of the points

   that Plaintiff attempts to make are either unsupported by evidence or simply irrelevant to this

   claim. Accordingly, Plaintiff failed to carry her burden of proving that she was discharged

   because of her disability, and summary judgment is appropriate.

       III.      CONCLUSION

              For each and all of the foregoing reasons and for the reasons stated in Honeywell's

   Motion for Summary Judgment, Defendant Honeywell International, Inc. respectfully requests

   that the Court ALLOW its Motion for Partial Summary Judgment in its entirety.

                                                        24
Case 1:15-cv-00179-WES-LDA Document 37 Filed 04/11/17 Page 25 of 25 PageID #: 694




                                                      HONEYWELL INTERNATIONAL INC.,

                                                      By their Attorneys,

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   Date: April 11,2017




                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true and correct copy of the within document was
   served on counsel via the Court's Electronic filing system on this 11th day of April, 2017.




                                                        /s/ Neal J. McNamara




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